           Case 1:22-mj-00203-GMH Document 39 Filed 11/14/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :       Criminal No. 1:22-mj-00203-GMH
                                                :
       v.                                       :
                                                :
PAUL EWALD LOVLEY,                              :
                                                :
                         Defendant.             :
                                                :



                          JOINT MOTION TO CONTINUE AND
                   TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The parties are currently scheduled for a status hearing on November 15, 2022.             The

United States of America and counsel for the above-captioned defendant hereby move this Court

for an approximately 90-day continuance of that hearing and to exclude the time under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq..      In support of this joint motion, the undersigned states as

follows:

       1.         Defendant was charged by complaint for violations related to his actions on January

6, 2021.    He first appeared on September 19, 2022, for misdemeanor charges related to entering

and remaining in a restricted building or grounds and discovery conduct therein.        Defendant is

not in custody.

       2.         Both case specific and global discovery has been provided to Defendant, which has

included filesharing of documents produced to Relativity.           The Government expects more

discovery to be produced in the future. The production to Relativity included numerous audio

files and other records of the U.S. Capitol Police, tens of thousands of tips and related

documentation made to the Metropolitan Police Department tipline, and FBI reports of interviews,

among other materials.      Defense continues to review discovery and further investigate this matter.

                                                    1
         Case 1:22-mj-00203-GMH Document 39 Filed 11/14/22 Page 2 of 3




       3.         Additionally, the parties are currently actively engaged in discussion of a pre-trial

resolution of this matter. The Government has provided an offer to the defendant who is currently

reviewing it.     Thus, plea negotiations are ongoing and expected to continue after the currently set

status hearing.

       4.         Given defenses interest in reviewing the voluminous discovery materials, the

parties seek an additional continuance of approximately 90 days in light of the holidays or another

date thereafter at the Court’s convenience.     The additional time will afford the United States time

to continue to produce discovery, defense counsel time to review and investigate any matters as

needed, and the parties time to discuss any possible pre-trial resolution of this matter.

       WHEREFORE, the parties respectfully request that this Court grant the motion for an

approximately 90-day continuance of the above-captioned proceeding, and that the Court exclude

the time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice

served by taking such actions outweigh the best interest of the public and the defendant in a speedy

indictment or trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and

(iv), and failure to grant such a continuance would result in a miscarriage of justice.



                                                Respectfully submitted,

                                                        MATTHEW M. GRAVES
                                                        United States Attorney
                                                        D.C. Bar Number 481052


                                                By:     /s/ Joseph H. Huynh
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                                                    2
Case 1:22-mj-00203-GMH Document 39 Filed 11/14/22 Page 3 of 3




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                              3
